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                   UNITED STATES DISTRICT COURT
                   EASTERN DISTRICT OF LOUISIANA
                      NEW ORLEANS DIVISION

IN RE: FEMA TRAILER                         MDL NO. 1873
FORMALDEHYDE
PRODUCT LIABILITY LITIGATION                SECTION "N-4"
                                            JUDGE ENGELHARDT
                                            MAG. JUDGE ROBY




        DEFENDANT UNITED STATES OF AMERICA’S EXHIBITS
    IN SUPPORT OF ITS MOTION TO DISMISS PLAINTIFFS’ FTCA AND
   CONTRACT CLAIMS FOR LACK OF SUBJECT MATTER JURISDICTION




                          U.S. EXHIBIT NO. 10-E
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HSFEHQ-06-P-4404
                    Minimum Bid Specifications

The following are minimum specifications for the Park Model

11 ’8" x 34’ 10" ANSI 119.5                     8 Foot Side Walls
2 Bedroom & 1 Bath                             2 Ton Heat & AC
Kitchen cabinets
Full Size Bed & 1 Sets of Futon Bunks with
sleeping capability for one on top               Linen Shelves
Dinette Table & Chairs                          No carpeted walls.
Full OSB house wrap                             2 end tables
White vinyl or metal exterior                  Wind   zone 2 rating
Double Pane insulated windows                   Thermal zone.2
30" Electric Stove w/front mounted controls 100 amp electrical service
17 CuFt refrigerator w/icemaker                 Roof load zone middle
20 gallon electric water heater                 2"x4" side walls 16" OC
2"x4" rafters 16"OC                             2"x6" Floor Joist 16" OC
Accordion door between B~ #2 and kitchen area
The axles shall be of sufficient GVW capacity for the application.
Sliding porch doors, with not less than 36" pass through.
Not less than 2 smoke and 2 carbon monoxide detectors.
No carpeting, vinyl flooring throughout the entire unit.
No television, however retain coax and l I0 VAC wiring.
Electric washer & dryer hook ups.
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                                                                                                                                                                                    PAGE OF PAGES
                                                           ORDER FOP, SUPPLIES OR SERVICES
IMPORTANT; Me~nll~c~ge~’~n~pe~’wJ~con~a~en~oror(:Mrnum~.                                               BPA NO.                                   .~
1, DATEOFORDER12_16_2005                                                                                                                        S, SHIP TO;

                                                                                                        ~ NAME.OF CONSIGNEE
3, ORDERNO,            MODIFICATIONNO. 4, REQU~I~ON~EFERENCENO.                                           GSA Depot Baton Rouge,LA
    HSFEHQ-06-P-4404                 t2’CONTRACTNO’(If~y)
                                         TN01046Y2006T                                                    2695 N. Sherwood Forest Blvd.
5.1SSUINGOFFICE(~rass~rms~en~I~                                                                        b. STREET ADDRESS
    Department. of Homeland Security/FEMA                                                                 Baton Rouge,LA 70814
    Federal Emergency Management Agency                                                                   Charley Fowler (Staging Manager)
    Financial & Acquisition Management "                                                               a.
    500 C Street, SW, Room 350                                                                                                                                           STATE        I e. ZIP CODE
   Washington DC 20472                                                                                   Jack Herbert (APO)
                                                 7.                                                      SHIP VIA
a.NAMEOFCONTRACTOR
   STEVENS MOBILE HOMES            & RV CENTER                                                                                              8. TYPE OF ORDER
b. COMPANY NAME
                                                                                                        [-~]a. PURCHASE

&STREL=TADDRESS                                                                                             furnish the ~Pawlng on ~e te~s and
  3030 NE EVANGELINE             THRWY                                                                 ~ ~o~ on bo~ s~des of ~is o~er
                                                                                                            ¯ a atla~ sh~t, if any, ~d~ng ’
                                                                                                       da~w~ as Indite.
d. ClT~                                          e. STATE  : f. ZIP CODE
    LAFAYETTE                                     LA           705073425
’9. ACCOUNTING ANDAPPROPRIATION DATA See CONTINUATION Page                                             10. REQUISITIONING OFFICE RROO




11. BUSINESS CLASSIFICATION (Choc~ app~oprialo box(as))                                                                                                        12. F.OB. POINT
[~ ~, SMALL                               F’--I b. OTHF-*R THAN SPJktL              D     c. DISADVANTAGED                          F--1 g, SERVICE-
                                                                                                                                    ~ DISABLED
                                                                                                                                                                   N/A
                                                                                                                                            VETERAN-
                                                                                    F’~t. EMERGING SMALL                                    OWNED
[~ & WOMEN-OWNED                          D e, HUBZ.one
                                                                                           BUSINESS

                                   13. PLACE OF                                  I 14. GOVERNMENT B/L NO.                    15. OF_LIVER TO F.O.B. POINT               16, DISCOUNT TERMS
                                                                                                                                 ON OR BEFORE (Dale)
  INSPECTION                             b. ACCEPTANCE                                                                            01-15-2006                                     Net 30
   BATON ROUGE ’                   BATON ROUGE
                                                                                 ’I
                                                                              17. SCHEDULE (,Sea ravarsa fur Re~ect~ons)
                                                                                                                           QUANTIFY                            UNIT                              QUANTITY
 ITEM NO,                                             SUPPLIES OR SERVICES                                                 ORDERED          UNIT              PRICE              AMOUNT          ~CCEPTED
    (A)                                                       (B)                                                             (c)
                  The contractor shall provide Eighty (80) 2-Bedrooms Park
                  Model Mobile Homes in accordance with the attached
                  specifications, schedule, and cost schedule. The                                                                          See C )NTINUATION E=ge
                  delivery location is to be Baton Rouge, LA.

                  DELIVERY FOR ALL UNITS IS NO LATER THAN JAN 15, 2006.

                  The contractor shall provide two (2) copies of the
                  bill of lading for each individual unit ordered hereunder.
                  The bill of laddng shall include, but not be limited to,
                  the following:
                  Contract/PO Number, Contractor Name, Make/Model, and Unit
                  VIN#. These units should be titled to "FEMA".
                  PLEASE FOLLOW THE INSTRUCTIONS iN PART A.3 REGARDING
                  S~BMISSION OF INVOICES.
                  THE INVOICE WILL NO~ BE PAID WITHOUT RECEIPT OF THE
                  ORIGINAL CERTIFICATE OF ORIGiN/TITLE.

                  THIS IS A CONFIRMING ORDER - DO NOT DUPLICATE




                            18. SHIPPING POINT                           19. GROSS SHIPPING W~IGHT                           20, INVOICE NO.



                                                                         21, MAIL INVOICE TO:
                                                                                                                                                                                                       TO~AL
       SEE BILUNG           a. NAME                                                                                                                                                                    [Cent
                                 Department of Homeland Security/FEMA                                                                                                                                  p~g~s)
     INSTRUCTIONS                Disaster Finance Center
           ON
        REVERSE             b,’~TREErAODRESS(orP.O.~x)                                                                                                                                                 17(i),
                                 Attn: Vendor Payments                                                                                                                                                GRAND
                                 P..Q: Box 800                                                                                                                                                        TOTAL
                            c, CITY                                                                       d. STATE          e. ZiP CODE
                                  Berryville                                                                   VA                22611                                 ~I,876,000.00
                                                                                                                             23, NAME (Typed)
22. UNITEDSTATESOFAMERICA                ~4,                                                                                       Joe E. Webb, Jr.
     BY [Signature)
                                 / I//Z                                                                                            Contracting Officer
                                                                                                                                        TITLE: CONTRACTING/OROER ING OFFID ER

A~THORIZED FOR LOCAL REPRODUC’~IDN                                                                                                                                    OPTIONAL FORM :N7
PREVIOUS EDITION NOT USABLE                                                                                                                                           PRESCRIBED BY GSAiFAR 48 CFR 53,213((
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                 "CONTINUATION PAGE



A.1 PRICE/COST SCHEDULE

 ITEM            DESCRIPTION OF                      QTY UNIT                           UNIT                        AMOUNT
 NO.             SUPPLIES/SERVICES                                                      PRICE

 001                                      1.00 LOT                            $1,876,000.00              $1,876,000.00
                 PROVIDE EIGHTY  (80)    TWO BEDROOM PARK
                 MODEL MOBILE HOMES IN SUPPORT OF THE
                 HURRICANE KATRINA RECOVERY EFFORTS.
                 PRICE INCLUDES PDI AND DELIVERY.
                 FUNDING/REQ NO:      i:    $261,100.00                      TN00969Y2006T
                 FUNDING/REQ NO:      2:$i,614,900.00                        TN01046Y2006T


                                                               GRAND TOTAL ---                           $1,876,000.00


 ACCOUNTING AND APPROPRIATION DATA:

 ACRN APPROPRIATION                                                REQUISITION NUMBER                               AMOUNT

       i 2006-06-1603DR-9064-                     -3190-D          TN00969Y2006T                 P         $261,100.00
       2 2006-06-1603DR-9064-                     -3190-D          TN01046Y2006T                 P       $i, 614,900.00


 A.2 52.211-11 LIQUIDATED DAMAGES - SUPPLIES, SERVICES, OR
      RESEARCH AND DEVELOPMENT (SEPT 2000)

  (a) If the Contractor fails to deliver the supplies or perform the services within the time specified .in this contract, the
Contractor shall, in place of actual damages, pay to the Government liquidated damages of $60.00 per unit per calendar
day of delay.

  (b) If the Government terminates this contract in whole or in part under the Default--Fixed-Price Supply and Service
clause, the Contractor is liable for liquidated damages accruing until the Government reasonably obtains delivery or
performance of similar supplies or services. These liquidated damages are in addition to excess costs of repurchase under
the Termination clause.

  (c) The Contractor will not be charged with liquidated damages when the delay in delivery or performance is beyond the
control and without the fault or negligence of the Contractor as defined in the Default--Fixed-Price Supply and Service
clause in this contract.


 A.3 INVOICES

  An invoice is a written request for payment under this contract for supplies delivered or for services rendered. Payment
of invoices submitted under this contract shall be made in accordance with the terms and conditions of the Prompt
Payment clause and in accordance with the provisions of othe.r clauses in this contract. Failure or refusal to provide the
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following inforthation ~n all invoices submitted under this contract may result in the invoice being cotisidered improper
for payrr~,ent in a.ccordance with the Prompt Payment clause. In order to be proper, an invoice must include, as applicable,
the following:

   a. GENERAL INFORMATION

TWO (2) INVOICE PACKETS SHALL BE PREPARED AND SUBMITTED AS FOLLOWS:

THE FIRST INVOICE PACKET SHALL BE SENT TO:

FEMA

LOGISTICS EMERGENCY HOUSING PROGRAM

A’Iqqq: JAMES KACZOROWSKI

500 C STREET S.W. ROOM 254

WASHINGTON, D.C. 20472


 AND CONTAIN THE FOLLOWING:

I. Acover letter stating how many Cert!ficates of Origin are contained in the packet.

2. Original Certificates of Origin/Title made out to "FEMA".

3. Warranty Information.

4. An invoice containing the following information:

    a. Name of Contractor

    b. Invoice date ’

    c. Contract number (including order number, if any), contract line item number, contract description of supplies or
services, quantity, contract unit of measure and unit price, and extended total.

    d. Shipment number and date of shipment (bill-of-lading number and weight of shipment will be shown for shipments
on Government bills of lading).

     e. Name, title, phone number and complete mailing address of responsible Official who can be contacted in the event
of an improper invoice, if there are questions, or additional information is needed by this agency to process payment.

   f. The invoice should be itemized and numbered for each unit containing the following information on each unit (no
more than 20 units per page of the invoice): Unit Manufacturer, Make and Mode!, VIN#, and price for each unit.

    g. Any other information or documentation required by other provisions of the Contract (such as evidence of
shipmen0.


THE SECOND INVOICE PACKET SHALL BE SENT TO:

FEMA
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 DISASTER FINANCE CENTER, BLDG 708

 ATTN: VENDOR PAYMENTS

 P.O. BOX 800

 BERRYTVILLE, VA 22611

 AND CONTAIN THE FOLLOWING:

 An invoice containing the following information:

    a. Name of Contractor

    b. Invoice date

    c. Contract number (including order number, if any), contract line item number, contract description of supplies or
services, quantity, contract unit of measure and unit price, and extended total.

    d. Shipment number and date of shipment (bill-of-lading number and Weight of shipment will be shown for shipments
on Government bills of lading).

    e. Name, title, phone number and complete mailing address of responsible Official who can be contacted in the event
of an improper invoice, if there are questions, or additional information is needed by this agency to process payment.

   f. The invoice should be itemized and numbered for each unit containing the following information on each unit (no
more than 20 units per page of the invoice): Unit Manufacturer, Make and Model, VIN#, and price for each unit.

    g. Any other information or documentation required by other provisions of the Contract (such as evidence of
shipment).




   b. ELECTRONIC FUNDS TRANSFER (EFT) IN’FORMATION


     1. The contractor should include the EFT information set forth below on all invoices submitted for payment under
this contract. Failure to provide the information or failure to notify.this agency of changes to this information may result
in delays in payments and/or rejection of the invoice in accordance with the Prompt Payment clause of this contract. The
following EFT information should be submitted on each invoice:

     (a) Routing Transit Number (RTN) ~" The contractor shall provide the current 9-digit RTN of the payee’s bank

     (b) Payee’s account number

     (c) Contractor’s Tax Identification Number (TIN)
     (The EFT information submitted must be that of the contractor unless there is an official Assignment of Claims on
file with the payment office.)
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     If at any tithe duri£g the term of this contract, the contractor changes any EFT information, (i.e. financial" agent, RTN,
 account r~umber, .etc.) the new EFT information must replace the old EFT information on subsequent invoices submitted
 under thi; contract.

    To avoid delays in proces.sing invoices, the contractor must also submit written notification of EFT information
changes to the office designated inthis award document as soon as the new information is known to the contractor. This
notification must be in writing and signed by the individual authorized by the contractor to make such changes.


 A.4 tISAR 3052,209-70 PROHIBITION ON CONTRACTS WITH CORPORATE EXPATRIATES
        (DEC 2003)

  (a) Prohibitions.

   Section 835 of Public Law 107-296, prohibits the Department of Homeland Security from entering into any contract
with a foreign incorporated entity after November 25, 2002, which is treated as an inverted domestic corporation as
defined in this clause.

   The Secretary shall waive the prohibition with respect to any specific contract if the Secretary determines that the
waiver i.s required in the interest of homeland security, or to prevent the loss of any jobs in the United States or prevent
the Government from incurring any additional costs that otherwise would not occur.

  (b) Definitions. As used in this clause:

   Expanded Affiliated Group means an affiliated group as defined in section 1504(a) of the Intemal Revenue Code of
1986 (without regard to section 1504(b) of such Code), except that section 1504 of such Code shall be applied by
substituting "more than 50 percent’ for ’at least 80 percent’ each place it appears.

   Foreign Incorporated Entity means any entity which is,. or but for subsection (b) of section 835 of the Homeland
Security Act, Public Law 107-296, would be, treated as a foreign corporation for purposes of the Internal Revenue Code
of 1986.

   Inverted Domestic Corporation. A foreign incorporated entity shall be treated as an inverted domestic corporation if,
pursuant to a plan (or a series of related transactions)-

    (1) The entity completes a£ter November 25, 2002, the direct or indirect acquisition of substantially all of the
properties held directly or indirectly by a domestic corpor.ation or substantially all of the properties constituting a trade or
business of a domestic partnership;

     (2) After the acquisition at least 80 percent of the stock (by vote or value) of the entity is held--

     (i) In the case of an acquisition with respect to a domestic corporation, by former shareholders of the domestic
corporation by reason of holding stock in the domestic corporation; or

      (ii) In the case of an acquisition with respect to a domestic partnership, by former partners of the domestic
partnership by reason of holding a capital or profits interest in the domestic partnership; and

     (3) The expanded affiliated group which after the acquisition includes the entity does not have substantial business
activities in the foreign country in which or under the law of which the entity is created or organized when compared to
the total business activities of such expanded affiliated group.

     Person, domestic, and foreign have the meanings given such terms by paragraphs (1), (4), and (5) of section 7701(a)
of the Internal Revenue Code of 1986, respectively.
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  (c) Special rules. The following definitions and special rules shall apply when determining whether a foreign
Jr/corpora’ted entity should be treated as an inverted domestic corporation.

   (1) Certain stock disregard.ed. For the purpose of treating a foreigr~ incorporated entity as an inverted domestic
corporation these shall not be taker~ into account in determining ownership:

    (i) stock held by members of the expanded affiliated group which includes the foreign incorporated entity; or

    (ii) stock of such entity which is sold in a public offering related to the acquisition described in subsection 09)(1) of
Section 835 of the Homeland Security Act, Public Law 107-296.

   (2) Plan deemed in certain cases. If a foreign incorporated entity acquires directly or indirectly substantially all of the
properties of a domestic corporation or partnership during the 4- year period beginning on the date which is after the date
of endctment of this Act and which is 2 years before the ownership requirements of subsection (b)(2) are met, such actions
shall be treated as pursuant to a plan.

   (3) Certain transfers disregarded. The transfer of properties or liabilities (including by contribution or distribution)
shall be disregarded if such transfers are part of a plan a principal purpose of which is to avoid the purposes of this
section.

  (d) Special rule for related partnerships. For purposes of applying section 835(b) of Public Law 107-296 to the
acquisition of a domestic partnership, except as provided in regulations, all domestic partnerships which are under
common control (within the meaning of section 482 of the Internal Revenue Code of 1986) shall be treated as a
partnership.

  (e) Trealrnent of Certain Rights.

   (1) Certain fights shall be treated as stocks to the extent necessary to reflect the present value of all equitable interests
incident to the transaction, as follows: (i) Warrants; (ii) Options; (iii) Contracts to acquire stock; (iv) Convertible debt
instruments; (v) Others similar interests.

   (2) Rights labeled as stocks shall not be treated as stocks whenever it is deemed appropriate to do so to reflect the
present value of the transaction or to disregard transactions whose recognition would defeat the purpose of section 835.

  (f) Disclosure. By signing and submitting its offer, an offeror under this solicitation represents that it not a foreign
incorporated entity that should be treated as an inverted domestic corporation pursuant to the criteria of Section 835 of the
Homeland Security Act, Public Law 107-296 of November 25, 2002.

  (g) If a waiver has been granted, a copy of the approved waiver shall be attached to the bid or proposal.



 A.5 COMMERCIAL WARRANTY

 Notwithstanding the provisions of the "Inspection" clause of this contract, the Contractor agrees that the items delivered
under this contract shall be covered by the same warranties as the Contractor customarily offers in connection with the
sale of these items on the commercial market. In the event that differing warranties covering these items are customarily
offered to other purchasers by the Contractor, it is agreed that such warranties shall apply to this contract as are available
to the Contractor’s most favored purchaser. In addition to any other obligations imposed upon t.he Contractor under any
warranties, and regardless of whether a similar right is customarily offered to other purchasers, the Contractor shall, if so
required by the Government within a reasonable time after the giving of notice of defect in accordance with such
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warranties, correct or r£place the defective or nonconforming item with all possible speed at the Contractor’s ~ost,
including shipping costs, not exceeding usual charges, from the delivery point to the Contractor’s plant and return.

 The Contractor shall affix a prominent notice on the equipment stating that the unit is covered by a warranty by the
Contractor. Complete details of the terms of the warranty shaI1 be documented and provided at the time of acceptance by
the Government.
